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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Case No. 11-cv-03116-WJM-MJW

   ABDUL KARIM HASSAN,

           Plaintiff,

   v.

   THE STATE OF COLORADO, and SCOTT GESSLER, in his official capacity as
   Secretary of State of the State of Colorado,

           Defendants.

    STIPULATED MOTION TO INCORPORATE LIST OF STIPULATED FACTS
               INTO MOTION FOR SUMMARY JUDGMENT

           In accordance with the Court’s minute order of April 23, 2012 [Doc. 26], which

   directed the parties to agree to undisputed facts for the purposes of converting the

   Defendants’ Motion to Dismiss [Doc. 8] into a motion for summary judgment, the parties

   respectfully request that the Court accept the following list of stipulated facts for the

   purposes of deciding that motion in favor of either party:

        1) Plaintiff is a 2012 candidate for the Presidency of the United States.

        2) Plaintiff is over the age of 35 years.

        3) Plaintiff is a naturalized American citizen.

        4) Plaintiff has been a resident of the United States for more than fourteen years.

        5) Plaintiff is not a natural-born citizen of the United States.

        6) With the exception of the "natural-born citizen" requirement, Plaintiff satisfies all

           of the constitutional requirements for holding the Office of the President of the

           United States.



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      7) Colorado Secretary of State Scott Gessler ("the Secretary") is the chief elections

          officer for the State of Colorado.

      8) The Secretary is responsible for ensuring the qualifications of candidates for

          statewide and federal elections.

      9) Plaintiff contacted the Secretary to inquire about Plaintiff's eligibility for the

          presidential ballot in Colorado.

      10) The Secretary responded in the letter attached to the Complaint (Doc. 1) as

          Exhibit 1.

      11) In pertinent part, the letter stated that access to the Presidential ballot in Colorado

          requires a prospective candidate to file a candidate statement of intent.

      12) The letter also stated that any individual “who affirmatively discloses that he or

          she does not meet the constitutional qualifications for the office, will not be

          placed on the ballot in Colorado.”

      13) Among other things, the Candidate Statement of Intent requires the prospective

          candidate to affirm his eligibility for office under penalty of perjury.

      14) The Secretary will not place a prospective candidate on the presidential ballot

          unless that prospective candidate submits the Candidate Statement of Intent.

      15) Plaintiff has not submitted a Candidate Statement of Intent to the Secretary

          because he is unable to affirm that he meets the natural-born citizen requirement

          of Article II, Section 5.

      16) Plaintiff has not identified presidential electors for the 2012 general election.

          Respectfully submitted this 27th day of April, 2012.




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